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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

             Defendants.
                                               /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20066


JEFF GARVIN SMITH et al.,

             Defendants.
                                               /

                 ORDER MEMORIALIZING STATUS CONFERENCE

      On June 11, 2013, the court conducted a telephonic status conference, on the

record, in the above-captioned cases with Government counsel and Liaison counsel.

During the conference, the court received an update from the discovery coordinator

regarding the status of the production of the electronic discovery. The discovery

coordinator proffered, and the Government confirmed, that certain inadvertent

discrepancies in the electronic discovery have slowed production in this complex matter.

The Government has agreed to look further into this issue and report back to the

discovery coordinator next week, prior to the in-person status conference currently

scheduled for June 20, 2013 at 3:00 p.m., for Liaison counsel and Government
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counsel.1 It is the court’s view that counsel have been working diligently to keep this

complicated matter progressing at a reasonable speed. There is still much work to be

done, but counsel has thus far worked cooperatively to facilitate the production of the

massive amounts of electronic discovery.



                                                                  s/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
Dated: June 11, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, June 11, 2013, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




           1
               The discovery coordinator will participate by telephone.
                                                                      2
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